     Case 3:09-cr-02395-JM      Document 54   Filed 02/25/10      PageID.100        Page 1 of 1



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                                 UNITED STATES DISTRICT COURT
 9
                                SOUTHERN DISTRICT OF CALIFORNIA
10
                                (HONORABLE JEFFREY T. MILLER)
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12
     UNITED STATES OF AMERICA,          )                 CASE NO. 09CR2395JTM
13                                      )
                    Plaintiff,          )
14                                      )
                                        )                   ORDER GRANTING JOINT MOTION
15   v.                                 )                   TO CONTINUE SENTENCING
                                        )                   HEARING
16   VICTOR APODACA-CAZARES,            )
                                        )
17                  Defendant.          )
     ___________________________________)
18
19         GOOD CAUSE APPEARING, the joint motion to continue the sentencing
20   hearing (Docket No. 53) in this matter until March 26, 2010 at
21   9:00 a.m. is GRANTED.
22   DATED: February 25, 2010
23
                                                     Hon. Jeffrey T. Miller
24                                                   United States District Judge
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